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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

                                                             MDL No. 2179
   In re: Oil Spill by the Oil Rig
          “Deepwater Horizon” in the Gulf
          of Mexico, on April 20, 2010                       SECTION: J

           This Document Relates to:                         JUDGE BARBIER

                              No. 12-970                     MAGISTRATE SHUSHAN

     BP’S OFFER OF PROOF REGARDING MOTION TO AMEND SCHEDULING
                ORDER AND MOTION TO AMEND INJUNCTION


       On November 7, 2012, BP filed a motion contending that the Court’s (1) entry of a

scheduling order that treated the causation issue as having been resolved against BP and (2) entry

of an injunction order that rejects BP’s position regarding the Settlement Agreement’s causal

nexus requirement and does not require claimants to demonstrate that they suffered injury as a

result of the spill was inconsistent with (a) the Fifth Circuit’s decision in In re Deepwater

Horizon, 732 F.3d 326 (5th Cir. 2013), (b) the Settlement, and (c) Article III and Rule 23. See

Rec. Doc. 11819. The Court denied BP’s motion on November 15, 2013, see Rec. Doc. 11857,

one day after Class Counsel had filed a proposed surreply, see Rec. Doc. 11848-1. The Court’s

November 15, 2013 Order also granted the filing of Class Counsel’s surreply, which made

assertions of fact to which BP had no meaningful opportunity to respond. See Rec. Doc. 11857.

       Because of the rapidity with which the Court ruled, BP did not have the opportunity to

make a more comprehensive and appropriate record in light of various statements in Class

Counsel’s surreply regarding the history of the Supplemental Information Program (“SIP”)

contemplated by the Settlement. BP wishes to make the record and history of those discussions

more complete. BP is accordingly filing the attached declaration of Richard C. Godfrey, which

attaches and describes additional correspondence on the SIP topic not currently in the record.
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November 20, 2013                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 20th day of November, 2013.


                                                   /s/ Don K. Haycraft
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